Case 1:21-cv-12285-TLL-PTM ECF No. 23, PageID.747 Filed 03/29/22 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


JILL SHYE, individually and on behalf of
all others similarly situated,
                                              Case No.: 21-cv-12285-TLL-PTM
                          Plaintiff,

       v.

BOOKSPAN LLC,

                          Defendant.


       NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Jill

Shye hereby dismisses with prejudice all claims against Defendant Bookspan LLC.

Dated: New York, New York                  BURSOR & FISHER, P.A.
       March 29, 2022
                                           By:    /s/ Philip L. Fraietta
                                                      Philip L. Fraietta
                                           Philip L. Fraietta (P85228)
                                           888 Seventh Avenue
                                           New York, NY 10019
                                           Telephone: (646) 837-7150
                                           Facsimile: (212) 989-9163
                                           Email: pfraietta@bursor.com
                                           HEDIN HALL LLP
                                           Frank S. Hedin
                                           1395 Brickell Avenue, Suite 1140
                                           Miami, FL 33131
                                           Telephone: (305) 357-2107
                                           Facsimile: (305) 200-8801
                                           Email: fhedin@hedinhall.com

                                           THE MILLER LAW FIRM, P.C.
                                           E. Powell Miller (P39487)
                                           Sharon S. Almonrode (P33938)
Case 1:21-cv-12285-TLL-PTM ECF No. 23, PageID.748 Filed 03/29/22 Page 2 of 2



                                       Dennis A. Lienhardt (P81118)
                                       William Kalas (P82113)
                                       950 W. University Drive, Suite 300
                                       Rochester, MI 48307
                                       Tel: 248-841-2200
                                       epm@millerlawpc.com
                                       ssa@millerlawpc.com
                                       dal@millerlawpc.com
                                       wk@millerlawpc.com
                                       Attorneys for Plaintiff
